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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

___________________________________________
KENNETH LINSLEY,                            )
INDIVIDUALLY AND ON BEHALF OF               )                    CASE NUMBER:
ALL OTHERS SIMILARLY SITUATED,              )
Plaintiff                                   )                    CLASS ACTION
                                            )                    COMPLAINT
v.                                          )
                                            )                    TRIAL BY JURY
FMS INVESTMENT CORP.                        )                    DEMANDED
       Defendant                            )
___________________________________________)                     JUNE 15, 2011


                                     I. INTRODUCTION

         1. Kenneth Linsley brings this suit on behalf of himself and all those similarly

situated against FMS Investment Corp., a debt collector, on account of its

misrepresentation of and non-compliance with federal student loan rehabilitation and

consolidation law as described more fully below in violation of the Fair Debt Collection

Practices Act, 15 U.S.C. §§ 1692 et seq., (“FDCPA”), and the Connecticut Unfair Trade

Practices Act, Conn. Gen. Stat. §§ 42-110 et seq. (“CUTPA”).

                                         II. PARTIES

         2. Kenneth Linsley is a natural person residing in East Haven, Connecticut.

         3. The defendant FMS Investment Corp. (“FMS”) is a Maryland Corporation

headquartered in Schaumburg, Illinois and is engaged in the collection of consumer

debts. The Defendant uses instrumentalities of interstate commerce in the collection of

debts.




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                                    III. JURISDICTION

       4. Jurisdiction in this Court is proper pursuant to 15 U.S.C. § 1692k(d) and 28

U.S.C. § 1331.

       5. This Court has jurisdiction over the defendant and venue in this Court is

proper, because the acts complained of occurred in this state and because the Plaintiff

and the Class Members are residents of Connecticut.

          IV. FACTUAL ALLEGATIONS OF PLAINTIFFS’ TRANSACTIONS

       6. The Plaintiff was a debtor with federal student loans that were placed into

default status.

       7. The loan was assigned to FMS for collection purposes.

       8. FMS sent Plaintiff a letter offering two options to cure the default status of his

federal student loans through either rehabilitation or consolidation.

       9. The letter, when describing rehabilitation, stated, “Make 9 consecutive agreed

upon monthly payments to qualify.”

       10. The letter, when describing consolidation, stated, “Repay your loan through a

new Consolidation Loan after you make 6-consecutive monthly payments. You may be

able to consolidate without first making qualifying payments by agreeing to repay your

Consolidation Loan under the Income Contingent Repayment Program (ICRP).”

       11. Federal law does not require that nine consecutive payments be made for a

loan to be rehabilitated. Specifically, 20 U.S.C. § 1078-6 provides that nine payments

must be made within ten months. Additionally, only nine payments within ten months

must be made under 34 C.F.R. § 685.212(f) with respect to William D. Ford Federal




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Direct Loan Program (“direct loans”) loans and 34 C.F.R. § 682.405(b)(1)(ii) with

respect to Federal Family Education Loan Program (“FFEL”) loans.

       12. Federal law does not require that six consecutive monthly payments be made

in order to obtain a consolidation loan. Specifically, 34 C.F.R. § 685.220(d)(1)(ii)(C) for

direct loans and 34 C.F.R. § 682.201(d)(1)(i)(A)(3) for FFEL loans allow consolidation if

satisfactory repayment arrangements have been made. Satisfactory repayment

arrangement for consolidation eligibility is defined by 34 C.F.R. § 685.102(b) for direct

loans and 34 C.F.R. § 682.200(b) for FFEL loans as the making of three consecutive,

voluntary, on-time, full monthly payments on a defaulted loan.

       13. Further, 34 C.F.R. § 685.220(d)(1)(ii)(D) allows consolidation without any

qualifying payment if the borrower agrees to repay a direct consolidation loan under

either the income contingent repayment plan (“ICRP”) OR income based repayment

plan (“IBR”). For FFEL consolidation loans, 34 C.F.R. § 682.201(d)(1)(i)(A)(3) allows

consolidation without any qualifying payment if the borrower agrees to repay under

either the income sensitive repayment plan (“ISRP”) OR IBR.

                                V. CLASS ALLEGATIONS

       14. Paragraphs 1-13 are herein incorporated.

       15. Plaintiff brings this action as a class action.

       16. Class A is comprised of individuals in Connecticut who are similarly situated

to the Plaintiff in that, within one year of the commencement of this action and

continuing to the date that an order is entered certifying this class, FMS sent them a

letter as described in paragraphs 8 through 10, a sample of which is attached as Exhibit

A.



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       17. Class B is comprised of individuals in Connecticut who are similarly situated

to the Plaintiff in that, within three years of the commencement of this action and

continuing to the date that an order is entered certifying this class, FMS sent them a

letter as described in paragraphs 8 through 10, a sample of which is attached as Exhibit

A.

       18. The proposed Classes are so numerous that joinder of all members would be

impracticable. Plaintiff does not know the size of the classes, although this information

is known by the defendant and is readily ascertainable in discovery. Based upon

information readily available concerning the defendant, the size of its operation, and its

specialization in the collection of student loans, Plaintiff estimates and accordingly

alleges that there are hundreds and, in all probability, thousands of individuals in the

classes.

       19. There is a community of interest among the members of the proposed

Classes in that there are questions of law and fact common to the proposed Classes

that predominate over questions affecting only individual members.

       20. Plaintiff’s claims are typical of those of the Classes that he seeks to

represent.

       21. Plaintiff is represented by counsel competent and experienced in both

consumer protection specific to student loans, and class action litigation, and he has no

conflicts with the members of the Classes.

       22. The common questions of law and fact predominate over any individual

questions, in that the letters are form letters, and any individual questions are




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subordinate to the common questions of whether FMS violated the FDCPA, and CUTPA

by misrepresenting the class members’ rehabilitation and consolidation rights.

       23. A class action is superior to other methods for the fair and efficient

adjudication of the controversy. Because the damages suffered by individual class

members are relatively small compared to the expense and burden of litigation, it would

be impractical and economically unfeasible for class members to seek redress

individually. The prosecution of separate actions by the individual class members, even

if possible or likely, would create a risk of inconsistent or varying adjudications with

respect to the claims asserted by individual class members and could create

incompatible standards of conduct for the defendants. Moreover, because most class

members are unaware of the right to make nine payments within ten months to qualify

for rehabilitation, or the ability to consolidate with only three qualifying payments or zero

if choosing the IBR repayment option, they are unlikely to bring an independent action,

and a class action is the only way that these violations can be rectified.

                                VI. CLAIMS FOR RELIEF

                       FIRST CAUSE OF ACTION – CLASS A
              Class A Claims for Violations of 15 U.S.C. §§ 1692 et seq.

       24. Paragraphs 1 through 23 are herein incorporated.

       25. Pursuant to 20 U.S.C. § 1078-6(a)(1), 34 C.F.R. § 685.212(f), and 34 C.F.R.

§ 682.405(b)(1)(ii), rehabilitation must allow for the required nine payments to be made

within a ten month period.

       26. Pursuant to 34 C.F.R. § 685.102(b) and 34 C.F.R. § 682.200(b), only three

payments are required for consolidation of default loans.




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       27. Pursuant to 34 C.F.R. § 685.220(d)(1)(ii)(D) and 34 C.F.R. §

682.201(d)(1)(i)(A)(3), borrowers have may avoid making any qualifying payments for

consolidation by choosing between ICRP/ISRP or IBR.

       28. FMS violated the FDCPA by falsely representing the law governing the

amount of time in which the required nine payments for rehabilitation were to be made.

FMS’ violations include, but are not limited to, the following:

           a. It falsely represented the time in which payment could be received to

              qualify for rehabilitation, in violation of 15 U.S.C. § 1692e(10).

           b. It falsely represented the character, amount or legal status of the debts, in

              violation of 15 U.S.C. § 1692e(2)(a);

           c. It collected amounts that were not permitted by law in violation of 15

              U.S.C. § 1692f(1).

       29. FMS violated the FDCPA by falsely representing the law governing the

number of payments required for consolidation and the repayment options available to

avoid having to pay any required payments for consolidation. FMS’ violations include,

but are not limited to, the following:

           a. It falsely represented the number of payments required to qualify for

              consolidation, and omitted an available repayment option to avoid making

              any required payments to qualify for consolidation, in violation of 15

              U.S.C. § 1692e(10).

           b. It falsely represented the character, amount or legal status of the debts, in

              violation of 15 U.S.C. § 1692e(2)(a);




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          c. It collected amounts that were not permitted by law in violation of 15

              U.S.C. § 1692f(1).

       30. Pursuant to 15 U.S.C. § 1692k, FMS is liable to the Plaintiff and the Class A

Members to whom it sent the letter.

                    SECOND CAUSE OF ACTION – CLASS B
        Class B Claims for Violations of Conn. Gen. Stat. §§ 42-110 et. seq.

       31. Paragraphs 1 through 23 are herein incorporated.

       32. FMS violated CUTPA by falsely representing the class members’

rehabilitation and consolidation rights.

       33. FMS’ acts as described above were against public policy, and were unfair,

immoral, unethical, oppressive and unscrupulous and such as to cause substantial

injury to consumers.

       34. The Class B Members have sustained an ascertainable loss as a result of

FMS’ acts in that they were denied the flexibility to which they were entitled.

       35. FMS is liable to Class B Members for these losses as well as, in the

discretion of the Court, punitive damages pursuant to Conn. Gen. Stat. § 42-110g.

       36. Plaintiff seeks an order for injunctive relief compelling FMS to provide

accurate descriptions of rehabilitation and consolidation rights in all communications

and that they afford him, the Class Members, and other student loan debtors with their

rights under federal law.




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WHEREFORE, the Plaintiff seeks on behalf of himself and the class members statutory
damages, actual damages, punitive damages, injunctive relief, and a reasonable
attorney’s fee, and costs.

                                      PLAINTIFF DEMANDS A TRIAL BY JURY


                                      PLAINTIFF, KENNETH LINSLEY,
                                      Individually And On Behalf Of The Class,



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